         Case 1:20-cv-03010-APM Document 368-1 Filed 07/13/22 Page 1 of 11




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA, et al.,

                                 Plaintiffs,           Case No. 1:20-cv-03010-APM

    v.                                                 HON. AMIT P. MEHTA
    GOOGLE LLC,

                                 Defendant.



         MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION TO EXTEND
         THE DEADLINE TO RESPOND TO THE REPORT OF EDWARD A. FOX

         Plaintiffs in the above-captioned case respectively move the Court for an order granting

Plaintiffs a thirty-day extension of the deadline to respond to the expert report Google submitted

by Dr. Edward A. Fox (“Fox Report”). An extension is necessary and appropriate because

Google failed to timely comply with the Court-ordered deadline for producing materials

underlying the Fox Report’s calculations and contentions. The requested extension will not affect

the scheduled trial date and will not prejudice Google, even though it is Google’s noncompliance

with its obligations that necessitate the extension. Google has indicated that it opposes this

request.

         If the requested extension is granted, Plaintiffs’ rebuttal to the Fox Report would be

moved to September 6, 2022. 1 The August 5, 2022 due date for all other rebuttals would remain

unchanged.




1
 A thirty-day extension of the current deadline, August 5, falls on Sunday, September 4. Labor
Day is on Monday, September 5. For those reasons, Plaintiffs request that the deadline for
serving a rebuttal report to the Fox Report be extended to Tuesday, September 6.


                                                  1
       Case 1:20-cv-03010-APM Document 368-1 Filed 07/13/22 Page 2 of 11




I.     FACTUAL BACKGROUND

       The Court’s December 6, 2021 Order, ECF No. 263, amending the Amended Scheduling

and Case Management Order (“CMO”), ECF No. 108-1, sets out deadlines for the exchange of

opening expert reports and back-up materials used by experts in creating those reports.

Specifically, the CMO requires that, five business days after serving opening expert reports, the

parties to exchange for all calculations appearing in the report:

       all data and programs underlying the calculations, including all programs and
       codes necessary to recreate the calculations from the initial (“raw”) data files, and
       including the intermediate working-data files that are generated from the raw data
       files and used in performing the calculations appearing in the report.

Order, ECF No. 108-1, at ¶ 24(e).

       On June 6, 2022, the Parties served opening expert reports as required by the amended

CMO. See Order, ECF No. 263. Among Google’s opening reports was the Fox Report. Google

retained Dr. Fox to offer opinions on the issue of “scale”—in particular, the relationship between

user data and search quality. 2 As part of his report, Dr. Fox reviewed several “experiments”

conducted by Google employees, one of which was designed specifically for this litigation. 3 The

Fox Report contained the purported results of this experiment, including summaries of those

results in tables and figures. Based on these results, Dr. Fox offered several conclusions about

the relationship between data and search quality.



2
  Plaintiffs assert that Google’s anticompetitive practices have hurt competition, by among other
things, depriving rivals the scale and data needed to compete effectively. See generally Amended
Complaint, ECF No. 94, ¶¶ 8, 35–38, 57, 95, 100, 113, 119–122, 155, 166(b).
3
  Beyond Plaintiffs’ concerns regarding Google’s refusal to provide back-up material, Plaintiffs
have significant concerns regarding whether the Fox Report can meet the requirements detailed
in Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 590 (1993) and Kumho Tire Co.
v. Carmichael, 526 U.S. 137 (1999). Those substantive concerns will be addressed on or before
the deadline for filing Daubert motions.



                                                  2
       Case 1:20-cv-03010-APM Document 368-1 Filed 07/13/22 Page 3 of 11




       On June 13, the Parties exchanged back-up materials for its experts, as required by the

CMO. Google, however, failed to serve any back-up or supporting materials for the Fox Report

on the due date; Google provided no advanced warning or subsequent explanation for its failure

to do so. On June 14—the very next day—Plaintiffs alerted Google to its omission and

demanded that Google meet its obligations under the CMO. Without further explanation, Google

responded that it was still “collecting” Dr. Fox’s back-up materials.

       On June 17, Google made a partial production of Dr. Fox’s back-up materials. The

produced materials, however, were not sufficient to reproduce the tables and figures included in

the Fox Report. On June 24, Plaintiffs identified these deficiencies for Google and requested that

Google immediately produce the “files and other materials necessary to recreate the calculations

and analysis contained within Dr. Fox’s report or otherwise relied on by Dr. Fox[.]” In that same

email, in response to claims newly made by Google at the June 17 status conference, Plaintiffs

directly asked Google if it disputed its obligation to produce missing data.

       On June 28, Google indicated that it would produce some code and data used by Dr. Fox,

but refused to produce all materials requested by Plaintiffs or certify that Google had produced

all materials required under the CMO and Federal Rule of Civil Procedure 26.

       After Plaintiffs raised further concerns on June 29, Google made another partial

production of Mr. Fox’s back-up material on July 1. After review, Plaintiffs found that the

materials were still insufficient “to recreate the calculations” included in the Fox Report—as

required by the CMO.

       On July 5, Plaintiffs asked Google to confirm that it had produced, all data and programs

underlying calculations in the Fox Report, “including all programs and codes necessary to

recreate the calculations . . . including the intermediate working-data files that are generated




                                                  3
       Case 1:20-cv-03010-APM Document 368-1 Filed 07/13/22 Page 4 of 11




from the raw data files and used in performing the calculations appearing in the report.”

       On July 6—a full month after serving the Fox Report—Google produced a single

spreadsheet responding to Plaintiffs’ requests, claiming that with that production “Google [had]

produced all data and programs necessary to recreate the calculations in the Fox Report.”

       Despite Google’s claims to the contrary, serious questions remain as to whether Google

has complied with its obligations under the Federal Rules and the CMO. Plaintiffs have

identified to Google apparent deficiencies in Google’s tardy productions, including missing code

and data, and await Google’s response to those requests as well as a clear explanation of how the

already produced materials Google correspond to the materials included in the Fox Report.

Google admits that any attempt to recreate Dr. Fox’s analysis using the material Google

produced will result in different results than those reported in Dr. Fox’s report. 4 Regardless of

the outcome of these discussions, Google’s lax production of supporting material has prejudiced

Plaintiffs’ preparation of responsive reports.

III.   LEGAL ARGUMENT

       A.      The Court Should Find That Good Cause Exists For The Requested
               Extension To Allow The Plaintiffs To Prepare A Response To The Fox
               Report

       The Court should extend Plaintiffs due date for responding to the Fox Report.

       “The Court may modify the scheduling order at any time upon showing of good cause.”

LCvR 16.4(a); see also Fed. R. Civ. P. 16(b)(4), CMO, ECF No. 108-1, at ¶ 30. In determining


4
  See July 1, 2022 email from John Ceccio (“To accommodate Plaintiffs’ request to recreate
calculations that appear in Dr. Fox’s report, Google is producing to DOJ Plaintiffs workbook
files, which will allow DOJ Plaintiffs to verify the IS and NDCG calculations in Dr. Fox’s
report. Google notes that the scores resulting from these workbook files could have immaterial
differences from the scores reported in Dr. Fox’s report due to, for example, differences in
ordering and rounding of intermediate calculation steps.”). Plaintiffs dispute that these
differences are immaterial.



                                                  4
       Case 1:20-cv-03010-APM Document 368-1 Filed 07/13/22 Page 5 of 11




whether good cause exists to extend discovery deadlines, “the Court primarily considers the

diligence of the party seeking discovery before the deadline.” Barnes v. District of Columbia,

289 F.R.D. 1, 7 (D.D.C. 2012) (collecting cases). The Court also considers (a) the foreseeability

of the need for additional discovery given the time allotted by the court, (b) the likelihood that

the discovery sought will lead to relevant evidence, (c) whether trial is imminent, (d) whether the

non-moving party consents, and (e) whether the non-moving party would be prejudiced. See

Childers v. Slater, 197 F.R.D. 185, 188 (D.D.C. 2000). The balance of these factors strongly

favor granting Plaintiffs’ requested extension.

       First, Plaintiffs have diligently sought Google’s compliance with the Court’s deadlines

set out in the CMO. Plaintiffs immediately informed Google of the deficiencies in the company’s

productions of expert materials. One day after the deadline to exchange expert back-up materials,

on June 14, 2022, Plaintiffs reached out to Google to request the missing back-up materials;

since then, Plaintiffs have repeatedly engaged with Google seeking to resolve this issue. Even

taking at face value Google’s claim that it has now completed its production, it did not do so

until July 6, 2022—a full month after serving its expert report and far after the CMO’s deadline.

And, as noted above, serious questions remain as to whether Google’s production is in fact

complete.

       Second, when the Scheduling Order was entered, Plaintiffs could not have foreseen that

Google would ignore the Federal Rules and the CMO by refusing to timely produce the

supporting materials. Indeed, when Google realized it would not be able to comply with its CMO

obligations, it was required to notify the parties and the Court and seek an extension. Instead,

Google granted itself an enlargement by simply ignoring its duty to produce the supporting

materials. This is unacceptable and certainly unforeseeable by the Plaintiffs. Because of




                                                  5
       Case 1:20-cv-03010-APM Document 368-1 Filed 07/13/22 Page 6 of 11




Google’s actions, Plaintiffs will be prejudiced without additional time to respond to the Fox

Report.

          Third, an extension of time to review the late-produced back-up materials will ensure that

both parties have equal footing in reviewing the underlying back-up material before issuing

rebuttal reports. Under the current schedule, Plaintiffs would be deprived of weeks to review Dr.

Fox’s back-up materials, in contravention of the CMO. In contrast, Google would suffer no

similar prejudice—they received our experts’ materials on time.

          Fourth, trial is not “imminent.” Moreover, Plaintiffs requested extension is narrow in

scope. It applies to one of Google’s experts. The requested extension should not affect the

remaining dates in the Scheduling Order, including the close of expert discovery.

IV.       CONCLUSION


          In light of Plaintiffs’ showing of good cause for extending the deadline to serve a rebuttal

report to the Fox Report, and the lack of prejudice to Google from the sought extension, the

factors, weighed together, favor granting Plaintiffs’ request for an extension of time. All other

dates, including the trial date, would remain unchanged.




                                                   6
      Case 1:20-cv-03010-APM Document 368-1 Filed 07/13/22 Page 7 of 11




Dated: July 13, 2021                Respectfully submitted,

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                                      7
Case 1:20-cv-03010-APM Document 368-1 Filed 07/13/22 Page 8 of 11




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                                8
Case 1:20-cv-03010-APM Document 368-1 Filed 07/13/22 Page 9 of 11




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                                9
Case 1:20-cv-03010-APM Document 368-1 Filed 07/13/22 Page 10 of 11




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                                10
Case 1:20-cv-03010-APM Document 368-1 Filed 07/13/22 Page 11 of 11




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                                11
